               Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 1 of 12



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Southern Division)



 LYNN STRANGE,

                                      Plaintiff,

                  v.                                              Civil Action No.


 PRINCE GEORGE’S COUNTY,
 MARYLAND
 14741 Governor Oden Bowie Dr.
 Suite 3151
 Upper Marlboro, MD 20772


                                      Defendant.



                                               COMPLAINT

                                                   Introduction

          1.       Plaintiff, a current employee of Defendant, individually and on behalf of all other

similarly-situated present and past employees of Defendant, known and unknown, brings this civil

action for damages stemming from Defendant’s willful failure to pay Plaintiff her wages, including

overtime wages, in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq., the

Maryland Wage and Hour Law (“MWHL”), MD. CODE ANN., LAB. & EMPL. §§ 3-401 et seq., and the

Maryland Wage Payment and Collection Law (“MWPCL”), MD. CODE ANN., LAB. & EMPL. §§ 3-501

et seq.




                                                        1
             Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 2 of 12



                                        Jurisdiction and Venue

        2.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question jurisdiction), 29 U.S.C. § 216(b) (“FLSA”), and 28 U.S.C. § 1367

(supplemental jurisdiction).

        3.       This Court has supplemental jurisdiction over the state law claims because they are so

related to Plaintiff’s federal FLSA claims that they form part of the same case or controversy under

Article III, Section 2 of the U.S. Constitution.

        4.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)-(c) because all of the

acts giving rise to this action occurred in Prince George’s County, Maryland.

                                                   Parties

        5.       Plaintiff Lynn Strange is a resident of Prince George’s County, Maryland. She has

been employed by Defendant from 2004 through the present.

        6.       As required by the Fair Labor Standards Act at 29 U.S.C. § 216(b), Plaintiff has

given her written consent to become a party to this action. A true and correct copy of Plaintiff’s

FLSA consent form is attached hereto as Exhibit A.

        7.       Defendant Prince George’s County, Maryland is a county of the State of

Maryland. At all times relevant to this action, it has been a public agency within the meaning of

the FLSA, 29 U.S.C. § 203(x) and Plaintiff’s employer within the meaning of the FLSA, 29

U.S.C. § 203(g), MD. CODE ANN., LAB. & EMPL. § 3-101(c); the MWHL, id. at § 3-401(b); and

the MWPCL, id. at § 3-501(b).




                                                     2
            Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 3 of 12



                                        Statement of Facts

       8.       At all times relevant to this Complaint, Plaintiff Lynn Strange has worked for

Defendant Prince George’s County, Maryland in its State’s Attorney’s Office, Juvenile Division

as an Administrative Aide.

       9.       At all times relevant to this complaint, Plaintiff has been classified as FLSA non-

exempt and paid on an hourly basis.

       10.      As documented in her position description, Plaintiff’s duties as an Administrative

Aide include the following: (1) administrative secretarial duties, including preparing reports,

memoranda, letters, labels, envelopes, subpoenas, court orders, writs, and other legal documents;

(2) automation duties, including updating case information on Defendant’s computer system; (3)

filing duties, such as maintaining the office’s filing system; (4) telephone and reception duties,

including answering phone calls and directing them to the proper person; and (5) other related

duties, such providing back-up secretarial and reception support.

       11.      Plaintiff frequently works for Defendant in excess of 40 hours per week but is not

compensated at the legally-required overtime rate for those hours. On many occasions, Plaintiff

is not compensated at all for overtime hours that she works, even when those overtime hours are

tracked in Defendant’s timekeeping system.

       12.      In addition, Plaintiff is entitled to a 30-minute unpaid lunch break every day.

Upon information and belief, Defendant automatically deducts 30 minutes from Plaintiff’s total

daily hours to account for this unpaid lunch break.

       13.      Plaintiff’s caseload often requires her to work through her lunch break. However,

at all times relevant to this complaint, she has not been credited for any time worked during her

lunch breaks.

                                                  3
          Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 4 of 12



       14.     As a result, at all times relevant to this complaint, Plaintiff has not been paid for

any work performed during her lunch breaks.

       15.     Accordingly, Defendant unlawfully failed or refused to compensate Plaintiff in

full and on time for her work as required by the FLSA, 29 U.S.C.A. §§ 206(a)(1) and 207(a)(1),

the MWHL, MD. CODE ANN., LAB. & EMPL., § 3-415(a), and the MWPCL, id. at § 3-505(a).

                               FLSA Collective Action Allegations

       16.     This action is maintainable as an “opt-in” collective action pursuant to the FLSA,

29 U.S.C. § 216(b), as to claims for unpaid overtime compensation, liquidated damages, interest

and attorneys’ fees and costs under the FLSA.

       17.     Plaintiff brings these FLSA claims on her own behalf and on behalf of other

similarly-situated workers employed by Defendant who were denied their full wages and proper

overtime compensation for at least the last three years prior to the filing of this Complaint and

through the final disposition of this action.

       18.     The individuals on behalf of whom Plaintiff brings this collective action are

similarly situated because they have been or are employed in the same or similar positions as

Plaintiff, had or have the same duties as Plaintiff, were or are subject to the same or similar

unlawful payment practices, and have claims based upon the same legal theory.

       19.     These similarly-situated employees are known only to Defendant, are readily

identifiable, and may be located through Defendant’s records. They may be readily notified of

this action, and allowed to opt into it pursuant to 29 U.S.C. § 216(b), for the purpose of

collectively adjudicating their claims for unpaid overtime compensation, liquidated damages,

interest, and attorneys’ fees and costs under the FLSA.



                                                  4
         Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 5 of 12



                                     Class Action Allegations

       20.     Plaintiff brings this class action pursuant to Federal Rule of Civil Procedure

23(b)(3), as to claims for unpaid wages, including overtime compensation, under the MWHL and

the MWPCL.

       21.     Plaintiff brings this class action on behalf of herself and a class of all past and

present employees of Defendant during the relevant statutory period.

       22.     The class is so numerous that joinder of all such persons individually is

impractical.

       23.     Plaintiff and the class have all been similarly affected by Defendant’s failures to

fully and timely compensate their employees.

       24.     There are questions of law or fact common to the class that predominate over any

questions affecting only individual members, which include, but are not limited to, the following:

                  a) Whether Defendant unlawfully failed or refused to compensate the Plaintiff

                      Class in full and on time for their work as required by the MWHL, MD.

                      CODE ANN., LAB. & EMPL., § 3-415(a) and the MWPCL, id. at § 3-502(a);

                  b) Whether Defendant unlawfully failed or refused to compensate members of

                      the Plaintiff Class at the rate of 1.5 times their regular hourly rate for all

                      overtime worked as required by MWHL, MD. CODE ANN., LAB. & EMPL., §

                      3-415(a);

                  c) Whether Defendant’s unlawful failures or refusals to fully compensate the

                      Plaintiff Class were the result of a bona fide dispute pursuant to MWPCL,

                      MD. CODE ANN., LAB. & EMPL., § 3-507.2.



                                                  5
          Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 6 of 12



        25.     Plaintiff’s claims are typical of the claims of the above described class because: a)

Plaintiff is a member of the class; b) the interests of Plaintiff are co-extensive with the interests

of the other members of the class; c) Plaintiff’s claims arise out of the same unlawful practices,

policies and/or course of conduct that form the basis of the claims of the class; d) Plaintiff’s

claims are based on the same legal and remedial theories as those of the class; e) there is a lack

of adverse interests between Plaintiff and the other members of the class; and f) common

questions exist.

        26.     Plaintiff is committed to the vigorous prosecution of this action and has retained

competent counsel experienced in litigating employment actions, including wage and hour class

actions and collective actions.

        27.     Plaintiff will fairly and adequately protect the interests of the class.

        28.     The common questions of law and fact regarding Defendant’s illegal payment

practices and Defendant’s related violations of Maryland’s wage laws predominate over any

individual differences in class members’ claims.

        29.     A class action is superior to other available methods for the fair and efficient

adjudication of the class claims under Maryland’s wage laws and, pursuant to Fed. R. Civ. P.

23(b)(3), this case should proceed as a class action with respect to the unpaid wages and

damages owed to Plaintiff and the putative class members.

        30.     If individual actions were required to be brought by each member of the class

injured or affected, the result would be a multiplicity of actions, creating a serious hardship to

members of the class, the Court and the Defendant. Accordingly, a class action is an appropriate

method for the fair and efficient adjudication of this lawsuit and distribution of the common fund

to which the class is entitled.

                                                   6
          Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 7 of 12



       31.     Because members of the class were subject to the same unlawful payment policies

and procedures, class members have little interest in individually controlling the prosecution of

separate actions and, in most if not all cases, would be unlikely to obtain counsel to adjudicate

their individual claims.

       32.     To date, on information and belief, separate litigation has not commenced against

this Defendant for the unlawful payment practices at issue here.

       33.     The case does not present individualized or exceedingly complex factual or legal

issues that would render management of the suit as a class action difficult. Rather, Plaintiff and

the class she seeks to represent were all subject to the same unlawful practices that give rise to

the instant complaint, and Defendant’s practices and procedures present the central and

overriding issues in the case.

       34.     The similarly-situated employees may be identified from Defendant’s records and

may be notified of the pendency of this Class action in the manner the Court directs.

                                              COUNT I
                                  FAIR LABOR STANDARDS ACT
                                 (Denial of Wages Under Federal Law)

       35.     Plaintiff repeats and incorporates by reference the allegations set forth above.

       36.     Defendant’s actions violate the FLSA, 29 U.S.C. §§ 206(a)(1) and 207(a)(1).

       37.     Defendant is liable to Plaintiff and all other similarly-situated employees, under

29 U.S.C. § 216(b) of the FLSA, for their unpaid wages including any overtime compensation,

plus an additional equal amount as liquidated damages, reasonable attorneys’ fees and costs, and

any other relief deemed appropriate by the Court.

                                         COUNT II
                           MARYLAND WAGE AND HOUR LAW
                           (Denial of Wages Under Maryland Law)

                                                  7
         Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 8 of 12




       38.     Plaintiff repeats and incorporates by reference the allegations set forth above.

       39.     Defendant unlawfully failed or refused to pay wages to Plaintiff and others

similarly situated in violation of MD. CODE ANN., LAB. & EMPL. §§ 3-413(b), 3-415(a), and 3-

420.

       40.     Defendant is liable to Plaintiff and all other similarly-situated employees,

pursuant to §§ 3-427(a) and (d) of the MWHL for their unpaid wages including any overtime

compensation, plus an additional equal amount as liquidated damages, reasonable counsel fees

and costs, and any other relief deemed appropriate by the Court.

                                      COUNT III
               MARYLAND WAGE PAYMENT AND COLLECTION ACT
                   (Failure to Pay All Wages Timely and Regularly)

       41.     Plaintiff repeats and incorporates by reference the allegations set forth above.

       42.     Defendant unlawfully failed or refused to pay Plaintiff and others similarly

situated all wages due, including overtime, on their regular paydays in violation of MD. CODE

ANN., LAB. & EMPL. § 3-502.

       43.     Defendant’s unlawful failure or refusal to pay all required wages in a timely and

regular manner violated the MWPCL.

       44.     Defendant’s unlawful failure or refusal to pay all required wages was not the

result of a bona fide dispute as defined by the MWPCL.

       45.     Pursuant to MD. CODE ANN., LAB. & EMPL. § 3-507.2, Plaintiff and others

similarly situated seek an amount equal to three times their unpaid wages, reasonable counsel

fees and costs, and any other relief deemed appropriate by the Court.




                                                 8
  Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 9 of 12



                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that this Court grant them the following relief:

a) Certify this matter as a collective action under the FLSA pursuant to 29 U.S.C.

   § 216(b);

b) Grant judgment against Defendant and in favor of the Plaintiff and similarly-situated

   workers, in the amount of each Plaintiff’s and similarly-situated worker’s respective

   unpaid wages, including overtime wages, plus an equal amount in liquidated damages

   pursuant to 29 U.S.C. § 216(b);

c) Certify this case as a class action pursuant to Fed. R. Civ. P. 23(b)(3);

d) Grant judgment against Defendant and in favor of the Plaintiff in the amount of

   Plaintiff’s unpaid wages, including overtime wages, pursuant to MWHL, MD. CODE

   ANN., LAB. & EMPL. §§ 3-427(a) and (d);

e) Grant judgment against Defendant and in favor of the Plaintiff in the amount equal to

   three times Plaintiff’s unpaid wages, including overtime wages, pursuant to the

   MWPCL, MD. CODE ANN., LAB. & EMPL. § 3-507.2;

f) Award Plaintiff pre- and post-judgment interest on all amounts owed as allowed by

   law;

g) Award Plaintiff costs and reasonable attorneys’ fees incurred in this action, as

   provided in 29 U.S.C. § 216(b), MD. CODE ANN., LAB. & EMPL. § 3-507.2, and MD.

   CODE. ANN., LAB. & EMPL. § 3-427(d); and

h) Grant such other and further relief as the Court may deem just and proper.




                                          9
        Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 10 of 12



                                           Respectfully submitted,

                                           /s/Steven K. Hoffman
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Dated: September 18, 2019




                                      10
Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 11 of 12




        EXHIBIT A
Case 8:19-cv-02761-TDC Document 1 Filed 09/18/19 Page 12 of 12




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